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                                                                           FILED
                                                               United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                  Tenth Circuit

                               FOR THE TENTH CIRCUIT                             June 25, 2018
                           _________________________________
                                                                             Elisabeth A. Shumaker
                                                                                 Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                           No. 18-1057
                                                    (D.C. No. 1:17-CR-00334-CMA-1)
  MARCO CASTRO-CRUZ, a/k/a Juan                                 (D. Colo.)
  Ramirez-Perez, a/k/a Guero,

        Defendant - Appellant.

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  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.
                                                               No. 18-1058
  MARCO CASTRO-CRUZ, a/k/aJuan                      (D.C. No. 1:14-CR-00144-CMA-4)
  Ramirez-Perez, a/k/a Manuel Castro Cruz,                      (D. Colo.)
  a/k/a Rogelio Martinez Escalante, a/k/a
  Guero,

        Defendant - Appellant.
                        _________________________________

                                        ORDER
                           _________________________________

         Appellant's motion to dismiss these matters is granted. See 10th Cir. R. 27.4(A)(9)

  and Fed. R. App. P. Rule 42(b).
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         A copy of this order shall stand as and for the mandate of the court.


                                               Entered for the Court



                                               ELISABETH A. SHUMAKER, Clerk




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